              Case: 1:20-op-45282-DAP Doc #: 13-1 Filed: 03/23/21 1 of 12. PageID #: 40


AO 399 (01/09) Waiver of the Service of Summons




                                                                         for the
                                                                Northern District of Ohio

                     City of Auburn, AL                                  )
                            Plaintiff
                                                                         )
                                v.
                                                                         )      Civil Action No. 1:20-op-45282
       Amerisourcebergen Drug Corp., et al.                              )
                           Defendant                                     )
                                              WAIVER OF THE SERVICE OF SUMMONS
To:                           James C. Peterson
            (Name of the plaintiff's attorney or unrepresented plaintiff)

      I have received your request to waive service of a summons in this action along with a copy of the complaint, two
copies of this waiver form, and a prepaid means of returning one signed copy of the form to you.

           I, or the entity I represent, agree to save the expense of serving a summons and complaint in this case.

      I understand that I, or the entity I represent, will keep all defenses or objections to the lawsuit, the court's jurisdiction,
and the venue of the action, but that I waive any objections to the absence of a summons or of service.

       I also understand that I, or the entity I represent, must file and serve an aswer or a motion under Rule 12 within 60
days from 01/14/21, the date when this request was sent (or 90 days if it was sent outside the United States). If I fail to do
so, a default judgement will be entered against me or the entity I represent.

Date: 3/18/21                                                                                             /s/ Paul J. Cosgrove
                                                                                                          Signature of the attorney or unrepresented party

   Amneal Pharmaceuticals LLC                                                                                            Paul J. Cosgrove
      Printed name of party waiving service of summons                                                                         Printed Name

                                                                                                                    Ulmer & Berne, LLP
                                                                                                                 600 Vine Street, Suite 2800
                                                                                                                   Cincinnati, OH 45202
                                                                                                                                  Address

                                                                                                                    pcosgrove@ulmer.com
                                                                                                                              E-mail Address

                                                                                                                            513-698-5000
                                                                                                                            Telephone number

                                         Duty to Avoid Unnecessary Expenses of Serving a Summons
       Rule 4 of the Federal Rules of Civil Procedure requires certain defendants to cooperate in saving unnecessary expenses of serving a summons and
complaint. A defendant who is located in the United States and who fails to return a signed waiver of service requested by a plaintiff located in the United States
will be required to pay the expenses of service, unless the defendant shows good cause for the failure.


       "Good cause" does not include a belief that the lawsuit is groundless, or that it has been brought in an improper venue, or that the court has no jurisdiction
over this matter or over the defendant or the defendant's property.


       If the waiver is signed and returned, you can still make these and all other defenses and objections, but you cannot object to the absence of a summons or of
service.


       If you waive service, then you must, within the time specified on the waiver form, serve an answer or a motion under Rule 12 on the plaintiff and file a copy
with the court. By signing and returning the waiver form, you are allowed more time to respond than if a summons had been served.
Case: 1:20-op-45282-DAP Doc #: 13-1 Filed: 03/23/21 2 of 12. PageID #: 41
            Case: 1:20-op-45282-DAP Doc #: 13-1 Filed: 03/23/21 3 of 12. PageID #: 42




         City of Auburn, AL

                                                                    1:20-op-45282
Amerisourcebergen Drug Corp., et al.




         JAMES C. PETERSON




             1/27/2021

            CVS HEALTH CORPORATION
             Case: 1:20-op-45282-DAP Doc #: 13-1 Filed: 03/23/21 4 of 12. PageID #: 43


 AO 399 (01/09) Waiver of the Service of Summons



                                      UNITED STATES DISTRICT COURT
                                                                     for the
                                                            Northern District of Ohio

 City of Auburn, Alabama                                                   )      In re: National Prescription Opiate Litigation
                                  Plaintiff                                )
                                                                           )      Civil Action No. 1:17-md-2804
 AmerisourceBergen Drug Corp., et al.                                      )
                                Defendant                                  )      This document applies to: 1:20-op-45282


                                                   WAIVER OF THE SERVICE OF SUMMONS

 To:        James C. Peterson
                (Name of the plaintiff’s attorney or unrepresented plaintiff)

        I have received your request to waive service of a summons in this action along with a copy of the complaint,
two copies of this waiver form, and a prepaid means of returning one signed copy of the form to you.
          I, or the entity I represent, agree to save the expense of serving a summons and complaint in this case.
          I understand that I, or the entity I represent, will keep all defenses or objections to the lawsuit, the court’s
jurisdiction, and the venue of the action, but that I waive any objections to the absence of a summons or of service.
        The Court’s moratorium on all filings includes a moratorium on the filing of answers or motions under Rule 12.
Defendants will not answer or move under Rule 12 unless so ordered by the Court. The failure to file an answer or
motion under Rule 12 will not be grounds for a default judgment.


 Date:         January 15, 2021                                                                      /s/ Ronda L. Harvey
                                                                                          Signature of the attorney or unrepresented party
 The Kroger Co.                                                                                          Ronda L. Harvey
       Printed name of party waiving service of summons                                                      Printed name
                                                                                                     Bowles Rice LLP
                                                                                              600 Quarrier Street; PO Box 1386
                                                                                                Charleston, WV 25325-1386
                                                                                                                Address
                                                                                                   rharvey@bowlesrice.com
                                                                                                            E-mail address
                                                                                                           304-347-1701
                                                                                                          Telephone number


                                              Duty to Avoid Unnecessary Expenses of Serving a Summons
          Rule 4 of the Federal Rules of Civil Procedure requires certain defendants to cooperate in saving unnecessary expenses of serving a summons
and complaint. A defendant who is located in the United States and who fails to return a signed waiver of service requested by a plaintiff located in
the United States will be required to pay the expenses of service, unless the defendant shows good cause for the failure.
           “Good cause” does not include a belief that the lawsuit is groundless, or that it has been brought in an improper venue, or that the court has
no jurisdiction over this matter or over the defendant or the defendant’s property.
        If the waiver is signed and returned, you can still make these and all other defenses and objections, but you cannot object to the absence of
a summons or of service.
            If you waive service, then you must, within the time specified on the waiver form, serve an answer or a motion under Rule 12 on the plaintiff
and file a copy with the court. By signing and returning the waiver form, you are allowed more time to respond than if a summons had been served.
             Case: 1:20-op-45282-DAP Doc #: 13-1 Filed: 03/23/21 5 of 12. PageID #: 44




 City of Auburn, AL

                                                                    1:20-op-45282
Amerisourcebergen Drug Corp., et al.




        JAMES C. PETERSON




        02/12/2021
              Case: 1:20-op-45282-DAP Doc #: 13-1 Filed: 03/23/21 6 of 12. PageID #: 45


AO 399 (01/09) Waiver of the Service of Summons




                                                                        for the
                                                               Northern District of Ohio

                    City of Auburn, AL                                   )
                           Plaintiff
                                                                         )
                               v.
                                                                         )     Civil Action No. 1:20-op-45282
       Amerisourcebergen Drug Corp., et al.                              )
                           Defendant                                     )
                                              WAIVER OF THE SERVICE OF SUMMONS
To:                           James C. Peterson
            (Name of the plaintiff's attorney or unrepresented plaintiff)

      I have received your request to waive service of a summons in this action along with a copy of the complaint, two
copies of this waiver form, and a prepaid means of returning one signed copy of the form to you.

          I, or the entity I represent, agree to save the expense of serving a summons and complaint in this case.

      I understand that I, or the entity I represent, will keep all defenses or objections to the lawsuit, the court's jurisdiction,
and the venue of the action, but that I waive any objections to the absence of a summons or of service.

       I also understand that I, or the entity I represent, must file and serve an answer or a motion under Rule 12 within 60
days from 01/14/21, the date when this request was sent (or 90 days if it was sent outside the United States). If I fail to do
so, a default judgement will be entered against me or the entity I represent.
              02/12/2021                                                                                                 /s/ Sean Morris
Date:
                                                                                                        Signature of the attorney or unrepresented party

       Par Pharmaceutical Companies, Inc.                                                                                   Sean Morris
      Printed name of party waiving service of summons                                                                         Printed Name

                                                                                                            Arnold & Porter Kaye Scholer LLP
                                                                                                            777 S. Figueroa Street, 44th Floor
                                                                                                                Los Angeles, CA 90017
                                                                                                                                  Address




                                                                                                              sean.morris@arnoldporter.com
                                                                                                                             E-mail Address

                                                                                                                           213-243-4000
                                                                                                                            Telephone number

                                         Duty to Avoid Unnecessary Expenses of Serving a Summons
       Rule 4 of the Federal Rules of Civil Procedure requires certain defendants to cooperate in saving unnecessary expenses of serving a summons and
complaint. A defendant who is located in the United States and who fails to return a signed waiver of service requested by a plaintiff located in the United States
will be required to pay the expenses of service, unless the defendant shows good cause for the failure.
      "Good cause" does not include a belief that the lawsuit is groundless, or that it has been brought in an improper venue, or that the court has no jurisdiction
over this matter or over the defendant or the defendant's property.
      If the waiver is signed and returned, you can still make these and all other defenses and objections, but you cannot object to the absence of a summons or of
service.
      If you waive service, then you must, within the time specified on the waiver form, serve an answer or a motion under Rule 12 on the plaintiff and file a copy
with the court. By signing and returning the waiver form, you are allowed more time to respond than if a summons had been served.
              Case: 1:20-op-45282-DAP Doc #: 13-1 Filed: 03/23/21 7 of 12. PageID #: 46


AO 399 (01/09) Waiver of the Service of Summons




                                                                         for the
                                                                Northern District of Ohio

                     City of Auburn, AL                                   )
                            Plaintiff
                                                                          )
                                v.
                                                                          )     Civil Action No. 1:20-op-45282
       Amerisourcebergen Drug Corp., et al.                               )
                           Defendant                                      )
                                              WAIVER OF THE SERVICE OF SUMMONS
To:                           James C. Peterson
            (Name of the plaintiff's attorney or unrepresented plaintiff)

      I have received your request to waive service of a summons in this action along with a copy of the complaint, two
copies of this waiver form, and a prepaid means of returning one signed copy of the form to you.

           I, or the entity I represent, agree to save the expense of serving a summons and complaint in this case.

      I understand that I, or the entity I represent, will keep all defenses or objections to the lawsuit, the court's jurisdiction,
and the venue of the action, but that I waive any objections to the absence of a summons or of service.

       I also understand that I, or the entity I represent, must file and serve an answer or a motion under Rule 12 within 60
days from 01/14/21, the date when this request was sent (or 90 days if it was sent outside the United States). If I fail to do
so, a default judgement will be entered against me or the entity I represent.
             02/22/2021                                                                                                       /s/ Sean Morris
Date:
                                                                                                          Signature of the attorney or unrepresented party

                Par Pharmaceutical, Inc.                                                                                     Sean Morris
      Printed name of party waiving service of summons                                                                          Printed Name

                                                                                                             Arnold & Porter Kaye Scholer LLP
                                                                                                             777 S. Figueroa Street, 44th Floor
                                                                                                                 Los Angeles, CA 90017
                                                                                                                                   Address




                                                                                                               sean.morris@arnoldporter.com
                                                                                                                              E-mail Address

                                                                                                                            213-243-4000
                                                                                                                             Telephone number

                                         Duty to Avoid Unnecessary Expenses of Serving a Summons
       Rule 4 of the Federal Rules of Civil Procedure requires certain defendants to cooperate in saving unnecessary expenses of serving a summons and
complaint. A defendant who is located in the United States and who fails to return a signed waiver of service requested by a plaintiff located in the United States
will be required to pay the expenses of service, unless the defendant shows good cause for the failure.
       "Good cause" does not include a belief that the lawsuit is groundless, or that it has been brought in an improper venue, or that the court has no jurisdiction
over this matter or over the defendant or the defendant's property.
      If the waiver is signed and returned, you can still make these and all other defenses and objections, but you cannot object to the absence of a summons or of
service.
       If you waive service, then you must, within the time specified on the waiver form, serve an answer or a motion under Rule 12 on the plaintiff and file a copy
with the court. By signing and returning the waiver form, you are allowed more time to respond than if a summons had been served.
              Case: 1:20-op-45282-DAP Doc #: 13-1 Filed: 03/23/21 8 of 12. PageID #: 47


AO 399 (01/09) Waiver of the Service of Summons




                                                                         for the
                                                                Northern District of Ohio

                     City of Auburn, AL                                  )
                            Plaintiff
                                                                         )
                                v.
                                                                         )      Civil Action No. 1:20-op-45282
       Amerisourcebergen Drug Corp., et al.                              )
                           Defendant                                     )
                                              WAIVER OF THE SERVICE OF SUMMONS
To:                           James C. Peterson
            (Name of the plaintiff's attorney or unrepresented plaintiff)

      I have received your request to waive service of a summons in this action along with a copy of the complaint, two
copies of this waiver form, and a prepaid means of returning one signed copy of the form to you.

           I, or the entity I represent, agree to save the expense of serving a summons and complaint in this case.

      I understand that I, or the entity I represent, will keep all defenses or objections to the lawsuit, the court's jurisdiction,
and the venue of the action, but that I waive any objections to the absence of a summons or of service.

       I also understand that I, or the entity I represent, must file and serve an aswer or a motion under Rule 12 within 60
days from 01/14/21, the date when this request was sent (or 90 days if it was sent outside the United States). If I fail to do
so, a default judgement will be entered against me or the entity I represent.

Date:       1/22/2021                                                                                                 s/ John J. Haggerty
                                                                                                          Signature of the attorney or unrepresented party

                 J.M. Smith Corporation                                                                                  John J. Haggerty
      Printed name of party waiving service of summons                                                                         Printed Name

                                                                                                                     Fox Rothchild LLp
                                                                                                                 2700 Kelly Road - Suite 300
                                                                                                                 Warrington, PA 18976-3624
                                                                                                                                  Address

                                                                                                                 jhaggerty@foxrothchild.com
                                                                                                                              E-mail Address

                                                                                                                            215-345-7500
                                                                                                                             Telephone number

                                         Duty to Avoid Unnecessary Expenses of Serving a Summons
       Rule 4 of the Federal Rules of Civil Procedure requires certain defendants to cooperate in saving unnecessary expenses of serving a summons and
complaint. A defendant who is located in the United States and who fails to return a signed waiver of service requested by a plaintiff located in the United States
will be required to pay the expenses of service, unless the defendant shows good cause for the failure.


       "Good cause" does not include a belief that the lawsuit is groundless, or that it has been brought in an improper venue, or that the court has no jurisdiction
over this matter or over the defendant or the defendant's property.


       If the waiver is signed and returned, you can still make these and all other defenses and objections, but you cannot object to the absence of a summons or of
service.


       If you waive service, then you must, within the time specified on the waiver form, serve an answer or a motion under Rule 12 on the plaintiff and file a copy
with the court. By signing and returning the waiver form, you are allowed more time to respond than if a summons had been served.
Case: 1:20-op-45282-DAP Doc #: 13-1 Filed: 03/23/21 9 of 12. PageID #: 48
              Case: 1:20-op-45282-DAP Doc #: 13-1 Filed: 03/23/21 10 of 12. PageID #: 49
02',),('
AO 399 (01/09) Waiver of the Service of Summons



                                      UNITED STATES DISTRICT COURT
                                                                       for the
                                                         Northern District of Ohio
      City of Auburn, AL
                                                                             )
                              Plaintiff                                      )
                                 v.                                          )   Civil Action No.          1:20-op-45282
Amerisourcebergen Drug Corp., et al.                                         )
                      Defendant                                              )

                                            WAIVER OF THE SERVICE OF SUMMONS
      JAMES C. PETERSON
To: __________________________________________
             (Name of the plaintiff’s attorney or unrepresented plaintiff)

       I have received your request to waive service of a summons in this action along with a copy of the complaint,
two copies of this waiver form, and a prepaid means of returning one signed copy of the form to you.

          I, or the entity I represent, agree to save the expense of serving a summons and complaint in this case.

          I understand that I, or the entity I represent, will keep all defenses or objections to the lawsuit, the court’s
        jurisdiction, and the venue of the action, but that I waive any objections to the absence of a summons or of service.

        7KH&RXUW VPRUDWRULXPRQDOOILOLQJVLQFOXGHVDPRUDWRULXPRQWKHILOLQJRIDQVZHUVRUPRWLRQVXQGHUXQGHU5XOH
        'HIHQGDQWVZLOOQRWDQVZHURUPRYHXQGHU5XOHXQOHVVVRRUGHUHGE\WKH&RXUW7KHIDLOXUHWRILOHDQDQVZHURU
        PRWLRQXQGHU5XOHZLOOQRWEHJURXQGVIRUDGHIDXOWMXGJPHQW

                                                                                                 /s/ Tara A. Fumerton
Date:     2/4/2021
                                                                                            Signature of the attorney or unrepresented party
:DOmDUW,QF or:DO0DUW6WRUHV(DVW/3                                                                 Tara A. Fumerton
        Printed name of party waiving service of summons                                                      Printed name
                                                                                                            Jones Day
                                                                                                         77 W. Wacker Dr.
                                                                                                         Chicago, IL 60601
                                                                                                                 Address

                                                                                                    tfumerton@jonesday.com
                                                                                                             E-mail address

                                                                                                           (312) 782-3939
                                                                                                           Telephone number

                                           Duty to Avoid Unnecessary Expenses of Serving a Summons

          Rule 4 of the Federal Rules of Civil Procedure requires certain defendants to cooperate in saving unnecessary expenses of serving a summons
and complaint. A defendant who is located in the United States and who fails to return a signed waiver of service requested by a plaintiff located in
the United States will be required to pay the expenses of service, unless the defendant shows good cause for the failure.

          “Good cause” does not include a belief that the lawsuit is groundless, or that it has been brought in an improper venue, or that the court has
no jurisdiction over this matter or over the defendant or the defendant’s property.

        If the waiver is signed and returned, you can still make these and all other defenses and objections, but you cannot object to the absence of
a summons or of service.

           If you waive service, then you must, within the time specified on the waiver form, serve an answer or a motion under Rule 12 on the plaintiff
and file a copy with the court. By signing and returning the waiver form, you are allowed more time to respond than if a summons had been served.
              Case: 1:20-op-45282-DAP Doc #: 13-1 Filed: 03/23/21 11 of 12. PageID #: 50



 AO 399 (01/09) Waiver of the Service of Summons


                                       UNITED STATES DISTRICT COURT
                                                                      for the
                                                             Northern District of Ohio

City of Auburn, AL
                                                                              )
                               Plaintiff                                      )
                                  V.                                          )    Civil Action No. MDL 2804; 1:17-md-02804
  Amerisourcebergen Drup Corp., et al.
                                                                              )
                                                                                    CA No.: 1:20-op-45282
                              Defendant                                       )

                                              WAIVER OF THE SERVICE OF SUMMONS

 To:          JAMES C. PETERSON
              (Name of the plaintiff's attorney or unrepresented plaintiff)

        I have received your request to waive service of a summons in this action along with a copy of the complaint,
 two copies of this waiver form, and a prepaid means of returning one signed copy of the form to you.

           I, or the entity I represent, agree to save the expense of serving a summons and complaint in this case.

         I understand that I, or the entity I represent, will keep all defenses or objections to the lawsuit, the court's
jurisdiction, and the venue of the action, but that I waive any objections to the absence of a summons or of service.

       The Court's moratorium ou all filings includes a moratorium on the filing of answers or motions under Rule 12.
Defendants will not answer or move under Rule 12 unless so ordered by the Court. The failure to file an answer or
motion under Rule 12 will not be grounds for a default judgment.

                   2/16/2021                                                                 /s/ Christopher Essig
                                                                                             Signature of the attorney or unrepresented party
 Hikma Pharmaceuticals USA Inc.,
JZkla.West-Ward Pharmaceuticals Corp                                                                       Christopher Essig
        Printed name ofparty waiving service of summons                                                         Printed name
                                                                                                     WINSTON & STRAWN LLP
                                                                                                        35 W. Wacker Drive
                                                                                                         Chicago, IL 60601
                                                                                                                  Address

                                                                                                        CEssig@winston.com
                                                                                                               E-mail address

                                                                                                            (312) 558-5600
                                                                                                             Telephone number

                                            Duty to Avoid Unnecessary Expenses of Serving a Summons

          Rule 4 of the Federal Rules ofCivil Procedure requires certain defendants to cooperate in saving unnecessary expenses of serving a summons
and complaint A defendant who is located in the United States and who fails to return a signed waiver of service requested by a plaintiff located in
the United States will be required to pay the expenses of service, unless the defendant shows good cause for the failure.
            "Good cause" does not include a belief that the lawsuit is groundless, or that it has been brought in an improper venue, or that the court has
 no jurisdiction over this matter or over the defendant or the defendant's property.
         If the waiver is signed and returned, you can still make these and all other defenses and objections, but you cannot object to the absence of
 a summons or of service.

            If you waive service, then you must, within the time specified on the waiver form, serve an answer or a motion under Rule 12 on the plaintiff
 and file a copy with the court. By signing and returning the waiver form, you are allowed more time to respond than if a summons had been served.
Case: 1:20-op-45282-DAP Doc #: 13-1 Filed: 03/23/21 12 of 12. PageID #: 51
